

People v Gibson (2024 NY Slip Op 01997)





People v Gibson


2024 NY Slip Op 01997


Decided on April 11, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 11, 2024

Before: Oing, J.P., Friedman, Kapnick, Scarpulla, Pitt-Burke, JJ. 


Ind. No. 911/16 Appeal No. 2015 Case No. 2018-1538 

[*1]The People of the State of New York, Respondent,
vDwayne Gibson, Defendant-Appellant.


Twyla Carter, The Legal Aid Society, New York (Steven R. Berko of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Beth R. Kublin of counsel), for respondent.



Judgment, Supreme Court, Bronx County (Raymond L. Bruce, J.), rendered May 3, 2017, convicting defendant, upon his plea of guilty, of operating a motor vehicle while under the influence of alcohol, and sentencing him to five years' probation, unanimously affirmed.
Defendant's contention that his guilty plea to a felony was invalid because he did not admit to a prior conviction during his plea allocution (see Vehicle and Traffic Law § 1193[1][c]) and was not arraigned on the special information is unpreserved, and we decline to address it in the interest of justice. As an alternative holding, we reject it on the merits. During the plea allocution, the court informed defendant that he was pleading guilty to one of the offenses that was specified as a felony in the indictment, and referenced defendant's "prior DWI conviction" as the basis for the felony charge. Thus, the record establishes that defendant was apprised and understood that he was pleading guilty to an elevated felony charge (see People v Sanchez, 555 AD3d 460, 461 [1st Dept 2008], lv denied 11 NY3d 930 [2009]; People v Swank, 68 AD3d 1816, 1817 [4th Dept 2009], lv denied 14 NY3d 806 [2010]). The court was not required to arraign defendant on the special information, as CPL 200.60(3) "is by its terms inapplicable in the context of a guilty plea" (Swank, 68 AD3d at 1817 [internal quotation marks omitted]).
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 11, 2024








